Case 9:22-mj-08332-BER Document 61 Entered on FLSD Docket 08/16/2022 Page 1 of 2




                             UM TED STATES IHSTW CT COURT
                             SOUTHERN DISTRICT OF #LORIDA
                                W EST PALM BEACH DIVISION
                           CRIMINALCASENo9:22-M ,1-8332- F
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                                                                         AtJC 16 2222
    IN RE:SEALIY S:ARCH WARRANT                                         itk;utEIIî.
                                                                         to.        Pu
                                                                                     JJ
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                          INTER STED PARTY PAUL M zDORSEV'S
                                  Ntm /k OFAPPEW
       Nuticeishexebygtventha!PaulM .Boçseygpro-se,tixllntef-
                                                            etted Partyin theabove-styled
    àctlon,appeal:totheUltited StatesCourtofAppealsfnrtheElevèntbCircuitthefollowingovder
    enteredby the DistrictCotlrt:

    @ Paperl:ssOrderdate;August15,2022(DE 58),whichstatesin itsentièety:
           PAPERLESS ORDER denying 52 ,53 ,and 54 pro se m otiöns to intetvenç,
           urisval dotlmwnts, and receive ncgice of eleçtronic tllings. The interests
           asserted by th: movantsal'eadequately represented by the mèdiarintervenors.
           Seç In re.Vor/zo?t Organiè Af//cPlus D#.  /1 Onttga-? M k/g.dr,sales Prac.
           Litig.,Xp.12-M13-02324,2014 WL 12496734,as*2 (S.D.Fla.July 1ù,2014)
           (citing Sbd.R.Civ.P.24) (collecting caseg).Signed by MAgistrate Judge
           BruckE.Relnhartpn 2/15/2022.(hk02)(Entefed:08/15/2022)

    Plegsepoteihat::526istheohly docketnllmberthatappliesto PatllM ,Dorsey.

    Dated: Augustlû,2072               Reqpectfully gubm itttd,

                                          /,4 mb.
                                       /s/PaulM .Dorsev
                                       PaulM ;Doràey,p/ktl-l'e
                                       110 W egtm insterD rive
                                       W estHartford,CT 06107
                                       (860)521-0081
                                       p.dorsey@comcast.net
Case 9:22-mj-08332-BER Document 61 Entered on FLSD Docket 08/16/2022 Page 2 of 2




                                      CERTIFICATE OF SERVICE

   1HEREBY CERTIFY IaCon August16,2022,1hada courierfile theforegoing document$.'1th
   thç Clerk gftlw Court,who Avilltlpload thisNoticeofAppealt:theCM /ECF syssem,which will

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